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     Attorney(s) for Rothschild Patent Imaging, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      ROTHSCHILD PATENT IMAGING,
      LLC,                                          CASE NO. 2:22-cv-01381
11
                         Plaintiff,                 PATENT CASE
12
      v.                                            JURY TRIAL DEMANDED
13
      LINE EURO-AMERICAS CORP.,
14                                                  COMPLAINT
15                       Defendant.
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17
           Plaintiff Rothschild Patent Imaging LLC (“Plaintiff” or “RPI”) files this
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     original Complaint against LINE Euro-Americas Corp. (“Defendant” or “LINE”) for
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     infringement of United States Patent No. 8,437,797 (“the ‘797 Patent”).
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                              PARTIES AND JURISDICTION
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           1.     This is an action for patent infringement under Title 35 of the United
22
     States Code. Plaintiff is seeking injunctive relief as well as damages.
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           2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
25
     infringement arising under the United States patent statutes.
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           3.     Plaintiff is a Texas limited liability company having an address at 1 East
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     Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a Delaware corporation with a
 2   place of business at 5750 Wilshire Blvd Ste 640 Los Angeles, CA, 90036-4494. On
 3   information and belief, Defendant may be served through its agent, Incorporating
 4   Services, Ltd., 3500 S Dupont Hwy, Dover, DE 19901. On information and belief,
 5   Defendant may be served through its agent, Yeong Sae Kim, 1700 Wyatt Dr., Suite
 6   9, Santa Clara CA 95054.
 7          5.     On information and belief, this Court has personal jurisdiction over
 8   Defendant because Defendant has committed, and continues to commit, acts of
 9   infringement in this District, has conducted business in this District, and/or has
10   engaged in continuous and systematic activities in this District.
11          6.     On information and belief, Defendant’s instrumentalities that are alleged
12   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
13   in this District.
14                                          VENUE
15          7.     Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because
16   Defendant is deemed to reside in this District. Alternatively, acts of infringement are
17   occurring in this District and Defendant has a regular and established place of
18   business in this District.
19                                         COUNT I
20         (INFRINGEMENT OF UNITED STATES PATENT NO. 8,437,797)
21          8.     Paragraphs 1-7 are incorporated herein.
22          9.     This cause of action arises under the patent laws of the United States and,
23   in particular, under 35 U.S.C. §§ 271, et seq.
24          10.    Plaintiff is the owner by assignment of the ‘797 Patent with sole rights to
25   enforce the ‘797 patent and sue infringers.
26          11.    A copy of the ‘797 Patent, titled “Wireless Image Distribution System and
27   Method,” is attached hereto as Exhibit A.
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 1         12.    The ‘797 Patent is valid, enforceable, and was duly issued in full
 2   compliance with Title 35 of the United States Code.
 3         13.    On information and belief, Defendant has infringed and continues to
 4   infringe one or more claims (at least by having its employees, or someone under
 5   Defendant's control, test the accused product), including at least Claim 16 of the ‘797
 6   Patent by making, using, importing, selling, and/or offering for sale network storage
 7   systems including hardware, software and firmware, covered by at least Claim 16 of
 8   the ‘797 Patent.
 9         14.    On information and belief, Defendant sells, offers to sell, and/or uses
10   network storage systems and methods including, without limitation, the Line media
11   platform, Studioline Line Messenger App, and any similar products (“Product”), which
12   infringe at least Claim 16 of the ‘797 Patent.
13         15.    The Product uses an image capturing device to perform a method. The
14   Product receives and filters photographic images from cameras. The Product also
15   shares the images according to certain conditions. Certain aspects of this element are
16   illustrated in the screenshots below, and/or the screenshots provided in connection with
17   other elements discussed herein.
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14         16.    The Product practices receiving a plurality of images. For example, the
15   Product provides for receiving multiple photos from a user device and receiving the
16   photos in a photo library. The Product’s app can access captured images (e.g., images
17   stored on a smartphone) and allow a user to transfer the images to other users. Certain
18   aspects of this element are illustrated in the screenshots below, and/or the screenshots
19   provided in connection with other elements discussed herein.
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13         17.    The Product practices filtering the plurality of photographic images (e.g.,
14   sorting the photos) using a transfer criteria (e.g., user selection of particular photos,
15   etc.). Certain aspects of this element are illustrated in the screenshots below, and/or
16   the screenshots provided in connection with other elements discussed herein.
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 1         18.    The Product practices transmitting, via a wireless transmitter and to a
 2   second image capturing device, the filtered plurality of photographic images. For
 3   example, files of filtered photos can be shared with other mobile devices. The Product
 4   enables a user to search, download, and share photos to a second image capturing
 5   device (e.g., another mobile device or a computer). Certain aspects of this element are
 6   illustrated in the screenshots below, and/or the screenshots provided in connection
 7   with other elements discussed herein.
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20         19.    When using the Product to share photos with a group (e.g., social media
21   group or private group), the image capturing device and the second mobile device are
22   disposed in a selectively paired relationship with one another based upon an affinity
23   group associated with the second mobile device (e.g., the users of both devices belong
24   to the same social media group and may send images to each other as well as other
25   users). Certain aspects of this element are illustrated in the screenshots below, and/or
26   the screenshots provided in connection with other elements discussed herein.
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           20.    Defendant’s actions complained of herein will continue unless Defendant
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     is enjoined by this Court.
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           21.    Defendant’s actions complained of herein are causing irreparable harm
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     and monetary damage to Plaintiff and will continue to do so unless and until Defendant
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     is enjoined and restrained by this Court.
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           22.    Plaintiff is in compliance with 35 U.S.C. § 287.
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                                         JURY DEMAND
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           22.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
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     respectfully requests a trial by jury on all issues so triable.
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                                     PRAYER FOR RELIEF
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           WHEREFORE, Plaintiff asks the Court to:
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           (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
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     asserted herein;
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           (b)    Enter an Order Enjoining Defendant, its agents, officers, servants,
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     employees, attorneys, and all persons in active concert or participation with Defendant
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 1   who receive notice of the order from further infringement of United States Patent No.
 2   8,437,797 (or, in the alternative, awarding Plaintiff a running royalty from the time of
 3   judgment going forward);
 4         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
 5   accordance with 35 U.S.C. § 284;
 6         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
 7         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
 8   entitled under law or equity.
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10   Dated: February 28, 2022               Respectfully submitted,
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                                            /s/Stephen M. Lobbin
12                                          Attorney(s) for Plaintiff
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